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                UNITED STATES BANKRUPTCY COURT
                                Western District of Kentucky
      IN RE:                                                          Case No.:20−50271−acs
      Brigid nmn Robine
                                                                      Chapter: 7
                                 Debtor(s)                            Judge: Alan C. Stout




                                             NOTICE
      TO THE DEBTOR(S) AND ALL PARTIES IN INTEREST:

      Please be advised that the following matter has been Entered by the Court on this date:

      Order of the Court to continue the hearing held on 4/28/2021 regarding the Motion to
      Sell 104 Pine Terrace, Milford, Pennsylvania Free and Clear of Liens filed by Trustee
      Mark R. Little 34 and the Agreed Motion Resolving Creditor's Response to Motion to
      Sell filed by Creditor Federal Home Loan Mortgage Corporation 39 , so ORDERED by
      /s/ Judge Stout. Hearing CONTINUED to 5/20/2021 at 10:00 AM Eastern Time (9:00
      AM Central Time) by TELEPHONE. Parties to call in at 1−888−684−8852 and use the
      Access Code 2390218#. Parties are to use the prompt to bypass the security code.
      Parties are directed to put their call on mute until their case is called. (Graham, S)This
      Notice of Electronic Filing is the Official ORDER for this entry. No document is
      attached.



      Dated: 4/28/21
                                                            FOR THE COURT
      By: slg                                               Elizabeth H. Parks
      Deputy Clerk                                          Clerk, U.S. Bankruptcy Court
